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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MINNESOTA

Darin Jerikovsky,                               12-CV-03119-JNE/LIB
                       Plaintiff,               MEMORANDUM IN SUPPORT
                                                OF DEFENDANT RUST-OLEUM
         v.                                     CORPORATION’S MOTION
                                                FOR SANCTIONS FOR
Rust-Oleum Corporation,                         PLAINTIFF’S SPOLIATION OF
                                                EVIDENCE
                       Defendant.




I.       INTRODUCTION AND RELIEF REQUESTED1
         This case arises out of an explosion of an aerosol can manufactured by defendant
Rust-Oleum Corporation. Plaintiff’s expert, Dr. Michael Fox, sometimes appears to opine
that the explosion was caused simply by plaintiff shaking the can. Generally, though, he
opines that the can exploded because it suffered some impact. One of Rust-Oleum’s
experts, Dr. Richard Loucks, agrees that the can exploded because it had been struck.
Both experts agree that the impact was significant enough to deform the can.
         Who or what caused that impact? Plaintiff testified that the can was not dented
when he purchased it. At the time of the explosion, plaintiff was standing next to a large
wooden cable spool, which he had turned onto its side to use as a painting table. A
photograph of the spool taken on the afternoon of the accident shows what appear to be
24 witness marks, consistent with plaintiff having struck the can on the spool.
         Plaintiff’s expert assert that there are no marks on the top of the wooden spool. To
support that claim, Dr. Fox relies on a low-resolution cell-phone photograph of the spool.


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 Rust-Oleum is filing this motion concurrently and in conjunction with its (1) Motion for
Summary Judgment and (2) Motion Under Rule 702 to Exclude Expert Testimony of Dr.
Michael J. Fox.


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         Obviously, the spool itself would provide the best evidence as to its own
condition. But plaintiff discarded this piece of crucial evidence. And he discarded that
crucial evidence after his attorneys received photographs showing the wooden spool.
         Given that plaintiff and his counsel knew of the existence of this crucial evidence
long before he discarded it, Rust-Oleum requests that the Court enter an order finding
that plaintiff willfully spoliated the evidence. The Court should conclude further that the
evidence would have been harmful to plaintiff’s position in this case. As a sanction, the
Court should exclude Dr. Fox’s expert opinion as to causation, as that opinion is based in
critical part on spoliated evidence. Further, as explained in Rust-Oleum’s Motion for
Summary Judgment, the Court should conclude that plaintiff cannot prove his claims in
this matter and thus that judgment should be entered on all of those claims.

II.      EVIDENCE RELIED UPON
         Rust-Oleum relies on the declarations of Daniel J. Gunter (“Gunter Decl.”),
Michael Murphy (“Murphy Decl.”), Richard B. Loucks (“Loucks Decl.”), Kevin Lewis
(“Lewis Decl.”), Warren Peters (“Peters Decl.”), and Jill Dahl (“Dahl Decl.”), and the
exhibits attached thereto, filed Friday, February 21, 2014, with Rust-Oleum’s summary
judgment motion; and the pleadings and files in this case.

III.     STATEMENT OF FACTS

         A.         Plaintiff Purchased an Undented Can of Rust-Oleum Spray Paint
         This case arises from the explosion of a can of aerosol spray paint. Rust-Oleum
purchased the part of the product at issue—that is, the can itself—from Ball Corporation.
(Murphy Decl. ¶2.) Rust-Oleum filled and closed the can and subjected it to a hot-water
bath test, in accordance with regulations promulgated by the Department of
Transportation. (Id. ¶¶3-4.) The can passed the hot-water bath test. (Id. ¶4, Ex A.)
         The can was manufactured in August 2007. (Id. ¶3.) Peters Home and Hardware in
Crowell, Minnesota, purchased the can from a distributor. (Peters Decl. ¶5.)
         Plaintiff purchased the can of paint during the afternoon of May 31, 2012. (Gunter



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Decl., Ex. A (Jerikovsky Dep. at 44:10–17).) He purchased the product to spray-paint a
part on a commercial truck that he was repairing. (Id. at 51:5–18.)
         Mr. Warren Peters, one of the store’s co-owners, has testified by declaration that
Peters Home and Hardware does not stock or sell damaged goods. (Peters Decl. ¶¶4–6.)
According to Mr. Peters, if Peters Home and Hardware receives damaged goods, those
goods are destroyed, and Peter’s requests a credit from the distributor. (Id. ¶5.) At the
time of the purchase, the counter clerk at Peter’s was Ms. Jill Dahl. Ms. Dahl has testified
that she also adheres to the practice of not selling damaged products. (Dahl Decl. ¶¶5–6.)
         Plaintiff also testified that the can was not damaged when he purchased it. In
particular, he did not notice any dents in the can:

                    Q.     When you looked at the can, when you purchased it,
                    did you notice anything that struck you as being unusual
                    about the can?
                    A.     No.
                    Q.     Did it seem to be rusty?
                    A.     No.
                    Q.     Did you notice any dents in it?
                    A.     No.
                    Q.     Did it seem to be dusty?
                    A.     No.
                    Q.     Would it be fair to say that when you looked at it, it
                    looked like your basic average can of spray paint on the
                    shelf?
                    A.     Yes.
(Jerikovsky Dep. at 52:17–53:6 [emphasis added].)
         Plaintiff had been trained not to strike an aerosol can, and he knew that doing so
could cause it to explode, potentially resulting in personal injury. (Id. at 13:7–18:6.) On
the day of the incident, he read the warning label on the Rust-Oleum can and understood
that he should not strike the can. (Id. at 48:15–23, 92:9–93:18.)



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         Plaintiff testified that he did not strike the can on anything hard at any time
between the purchase of the product and the explosion:

                    Q      [B]etween the time you purchased the can or the time
                    the explosion occurred, did you strike the can on anything
                    hard?
                    A.    No. It went from my hand to my pickup seat and
                    back to my hand.
                    Q.    Pick up seat’s soft, right?
                    A.    Yes.
(Id. at 56:4–10 [emphasis added].)
         What happened next is in dispute. Plaintiff claims that the can simply exploded in
his hand as he was shaking it. (Id. at 51:20–23; 53:7–54:3; 85:15–18.) Plaintiff’s expert
appears to believe that the can had been struck at some time before plaintiff purchased it,
resulting in a dent at the bottom of the can. (See Gunter Decl., Ex. D (“Fox Report”) at 7-
5.) That opinion contradicts plaintiff’s own unambiguous testimony that the can was not
dented. But it is undisputed that, after the incident, the bottom of the spray can was
dented.
         What caused the dent in the can? As noted, plaintiff was using a wooden wire
spool as a painting stand when the explosion occurred. (Jerikovsky Dep. at 54:8–12.)
Plaintiff’s expert, Dr. Fox, considered the possibility that plaintiff struck the can against
the spool. He offers two reasons for rejecting that possibility: (a) plaintiff testified that he
did not strike the can on the spool and (b) the spool does not show any witness marks
from being struck by the can, and Dr. Fox would expect the spool to show such marks
had it been struck. (Fox Report at 1-1 to 1-2, 4-5, 5-6, 8-2.)
         Plaintiff has not produced the spool for inspection. (Gunter Decl., Ex. E at 1–3.)
Indeed, he discarded the spool at some unknown time after the incident, and it cannot
now be found. (Id. at 3.) Further, plaintiff did not merely permit the spool to be lost.
Instead, he deliberately discarded the spool, taking it to a company that had no duty to




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retain the spool and that has since lost track of it. (Id.) As an explanation for his actions,
plaintiff claims simply that he no longer wanted the spool in his yard. (Id.)
         But before plaintiff threw away the spool, two people photographed it: Randy
Roberts, a deputy sheriff with Carlton County, and plaintiff’s sister, Lisa Westendorf.
(Roberts Decl. ¶¶6–10, Exs. 1 & 2; Gunter Decl., Ex. F.) Indeed, on June 20, 2012, Ms.
Westendorf sent cell-phone photos of the spool to plaintiff’s attorneys in this matter, the
Robins Kaplan firm. (Gunter Decl., Ex. F.) By that time, plaintiff had been working with
the Robins Kaplan firm for some unknown time, but certainly more than a week. (Gunter
Decl., Ex. H at 1, s. (iii).) Accordingly, the undisputed evidence shows that plaintiff’s
attorneys knew of the existence of the spool before plaintiff ridded himself of it.
         The evidence of the spool is obviously important. The deputy sheriff recognized
that fact, as evidenced by the photographs that he took of it. Plaintiff’s expert relied on a
cell-phone photograph of the spool in forming his opinions. (Fox Report at 1-2.) And
plaintiff’s own sister sent photographs of the spool to plaintiff’s counsel.
         Rust-Oleum has been prejudiced by plaintiff’s spoliation of this evidence. Dr.
Richard Loucks, one of Rust-Oleum’s experts, reviewed the deputy sheriff’s photographs
of the spool and counted a total of 24 marks on the top of the spool that appear to be
witness marks—that is, marks caused by the striking of the Rust-Oleum can on the top of
the spool:




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(Loucks Decl. ¶¶2-3, Ex. A (Report of Dr. Richard B. Loucks (“Loucks Report”) at 44–
47).)
         Through careful measurement of objects shown in the photograph, Dr. Loucks was
able to confirm that the witness marks very closely match the size of the base of the
aerosol can at issue. (Id. at 44–45.) But Dr. Loucks quite reasonably believes that the
actual spool would provide additional evidence, as it would confirm the size and depth of
the witness marks and other marks on the top of the spool. (Id. at 53.)
         In short, plaintiff spoliated a piece of key evidence in this case. His spoliation has
prejudiced Rust-Oleum’s ability to defend this case.
         The question before the Court is whether plaintiff should be entitled to benefit
from his spoliation of that evidence.

IV.      AUTHORITY AND ARGUMENT
         This Court’s inherent powers include the discretionary authority to “fashion an
appropriate sanction for conduct which abuses the judicial process.” Sherman v. Rinchem
Co., Inc., 687 F.3d 996, 1006 (8th Cir. 2012); Gallagher v. Magner, 619 F.3d 823, 844
(8th Cir. 2010). This broad discretionary authority includes the authority to issue an
adverse inference instruction as a sanction for spoliation. Sherman, 687 F.3d at 1006.
         An adverse inference instruction is appropriate if (1) a party violates a duty to
preserve the evidence, (2) the party intentionally destroyed the evidence in a manner
indicating a desire to suppress the truth, and (3) the opposing party was prejudiced by the
destruction. See Hallmark Cards, Inc. v. Murley, 703 F.3d 456, 460 (8th Cir. 2013);
Dillon v. Nissan Motor Co., 986 F.2d 263, 267 (8th Cir. 1993).
         For the reasons set forth below, this Court should exercise its discretion and
sanction plaintiff for intentionally destroying key evidence that could have disproved
plaintiff’s claim.




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         A.         Plaintiff Had a Duty to Preserve the Spool
         A party has a duty to preserve evidence if he or she knows or should know that the
evidence is relevant to imminent litigation. Dillon, 986 F.2d at 268. In this case, plaintiff
discarded the spool after he was injured and after his counsel knew of the existence of the
spool. Plaintiff should have known that the spool was relevant because it contained
evidence relating to the explosion at issue in this case.
         Plaintiff cannot reasonably claim that he had no clue that the spool might
constitute evidence. Deputy Sheriff Roberts understood that the spool constituted
evidence. Plaintiff’s sister emailed photographs of the spool to his attorneys within three
weeks of the incident. Only one inference can be drawn from that email: plaintiff knew or
should have known that the spool might be relevant to imminent litigation. Certainly his
attorneys should have known that the spool might be relevant to imminent litigation.
Further, the fact that the deputy sheriff photographed the spool confirms that any
reasonable person would have known that the spool might be relevant to imminent
litigation.
         In short, plaintiff had a duty to preserve the spool, but failed to do so. He has not
offered any legitimate explanation for his spoliation. His only explanation is that he did
not want the spool in the yard. That does not excuse his spoliation of this key piece of
evidence.

         B.         Plaintiff Destroyed the Spool in Bad Faith
         The Court should also conclude that plaintiff intentionally destroyed the spool in a
manner “indicating a desire to suppress the truth.” Hallmark Cards, 703 F.3d at 460 (8th
Cir. 2013). Because most people will not admit that they intentionally destroyed relevant
evidence, the courts do not require such an admission for a finding of bad faith: “Intent is
rarely proved by direct evidence, and a district court has substantial leeway to determine
intent through consideration of circumstantial evidence, witness credibility, motives of
the witnesses in a particular case, and other factors.” See Greyhound Lines, Inc. v. Wade,



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485 F.3d 1032, 1035 (8th Cir. 2007).
         The direct and circumstantial evidence supports an inference of bad faith. First,
plaintiff intentionally discarded the spool: he took active steps to destroy the evidence.
Second, plaintiff spoliated this important evidence after litigation was more than
probable—indeed, after he retained the Robins Kaplan firm to represent him, and after
photographs of the spool were sent to that firm. Given that fact, plaintiff either knew or
should have known that the spool constituted possible evidence in the matter.
         Plaintiff has not provided a legitimate explanation for his spoliation of evidence.
His only explanation was that he did not want the spool in his yard. He has not explained
why he did not want the spool in the yard. The conclusion should be that he discarded the
spool because it constituted evidence contrary to his claims in this case.
         The plaintiff would have had a powerful incentive to retain the spool if it provided
evidence supporting his claim. The evidence shows that plaintiff was using the spool as a
painting stand. The evidence also shows that the can was dented after the incident. And
plaintiff himself has testified that the can was not dented when he purchased it.
         Given these facts, the natural question is whether plaintiff himself caused the
explosion by striking the can on the spool.
         Plaintiff’s expert confirms that this is an entirely natural question. Dr. Fox claims
that the spool does not show any evidence that plaintiff struck it with the can. Indeed, Dr.
Fox relies heavily on that alleged fact in support of his opinions in this case
         Accordingly, plaintiff had a very powerful incentive to retain the spool—provided
that it constituted evidence favorable to plaintiff.
         But plaintiff discarded this evidence. Why? The natural answer to that question is
that he spoliated the evidence because it was unfavorable to his claim that the can simply
blew up in his hand.
         In short, the circumstances support a finding that plaintiff spoliated the spool with
intent to suppress the truth. Moreover, under the circumstances of this case, the only



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adverse inference that can be drawn is that the spool constituted evidence showing that
plaintiff struck the can on the spool.

         C.         Plaintiff’s Spoliation Has Significantly Prejudiced Rust-Oleum’s
                    Ability to Defend Against Plaintiff’s Claims
         To impose an adverse inference sanction, Rust-Oleum must be prejudiced.
Hallmark Cards, 703 F.3d at 460 (8th Cir. 2013). Rust-Oleum was prejudiced by
plaintiff’s spoliation if the spool “may have [been] helpful.” See Dillon, 986 F.2d at 268.
         It is beyond dispute that the spool may have been helpful to Rust-Oleum. As set
out above, plaintiff’s expert agrees that the aerosol can was struck before the explosion
and that the striking of the can caused the explosion.2 Plaintiff’s expert agrees that one
possible scenario involved plaintiff striking the container against the spool. And a
photograph of the spool shows that it very likely contained witness marks and other
evidence demonstrating that plaintiff struck the can against the spool. (See Loucks Report
at 44–47.)
         The photograph taken by the deputy sheriff constitutes very powerful evidence
contradicting plaintiff’s claim. (See Roberts Decl., Exs. 1 & 2.) But the spool itself would
provide even better evidence. Had plaintiff not discarded the spool, Rust-Oleum could
measure the marks on the spool, including the depth of those marks, and calculate
precisely whether the marks matched the bottom of the can. (See Loucks Report at 44–


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  Plaintiff’s expert opines that “the JRO explosive failure is due to instantaneous and
catastrophic circumferential cracking caused by minor impact.” (Fox Report at 7-5.)
Rust-Oleum disagrees that the impact was “minor.” (Rust-Oleum is filing a separate
Daubert motion as to Dr. Fox’s opinions.) One of Rust-Oleum’s outside experts, Mr.
Kevin Lewis, dropped 20 cans from a height of four feet, and none of those cans failed.
(See Lewis Decl., ¶¶2-3, Ex. A (Report of Kevin Lewis (“Lewis Report”) at 11).) Rust-
Oleum believes that such an impact is more than “minor.” Further, Dr. Fox’s own testing
shows that aerosol cans will not fail from “minor impact”: in his tests, aerosol cans failed
only after being dropped at least eight times from a height of six and one-half feet. (Fox
Report, Attachment D, “Circumferential Catastrophic Burst Failures” at 326.) Regardless
of these issues, both Rust-Oleum and plaintiff’s expert agree that the failure was “caused
by . . . impact.” (See Fox Report at 7-5; Loucks Report at 52.)


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47.) With that evidence, Rust-Oleum could demonstrate powerfully that the can was
struck against the spool—in fact, that plaintiff struck the can on the spool at least 24
times.
         The dispute between plaintiff’s expert and Rust-Oleum’s expert confirms that, at
the very least, there is a question as to whether the spool bore witness marks that would
tend to confirm or disprove plaintiff’s claims in this case. Because plaintiff spoliated this
evidence, he prejudiced Rust-Oleum’s ability to defend against plaintiff’s claims.

V.       CONCLUSION
          Rust-Oleum respectfully requests that the Court enter an order sanctioning
plaintiff for his intentional destruction of the spool. The spool constituted evidence that
would have allowed Rust-Oleum to prove conclusively that plaintiff struck the can on the
spool and caused his own injuries. Under the circumstances of this case, the Court should
conclude that the adverse inference must be that the spool constituted evidence that
plaintiff struck the can on the spool immediately before the incident. And, as explained
further in Rust-Oleum’s Motion for Summary Judgment, the necessity of drawing that
inference requires dismissal of plaintiff’s claims.




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Dated: February 21st, 2014.          KUTAK ROCK LLP

                                     By: /s/ Thomas K. Klosowski
                                       Thomas K. Klosowski (#176321)

                                     U.S. Bank Plaza South
                                     220 South Sixth Street, Suite 1750
                                     Minneapolis, MN 55402
                                     Telephone: (612) 334-5017
                                     Facsimile: (612) 334-5050
                                     Email:
                                     thomas.klosowski@kutakrock.com

                                     RIDDELL WILLIAMS P.S.


                                     By: /s/ Daniel J. Gunter
                                       Daniel J. Gunter (pro hac vice)

                                     1001 Fourth Avenue, Suite 4500
                                     Seattle, WA 98154-1192
                                     Telephone: (206) 624-3600
                                     Facsimile: (206) 389-1708
                                     Email: dgunter@riddellwilliams.com

                                     Attorneys for Defendant Rust-Oleum
                                     Corporation




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